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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  AIDS VACCINE ADVOCACY
  COALITION, et al.,

                   Plaintiffs,
                                                          Civil Action No. 25-cv-400 (AHA)
            v.

  UNITED STATES DEPARTMENT OF
  STATE, et al.,

                   Defendants.


  GLOBAL HEALTH COUNCIL, et al.,

                   Plaintiffs,
                                                          Civil Action No. 25-cv-402 (AHA)
            v.

  DONALD J. TRUMP, et al.,

                   Defendants.


  DEFENDANTS’ STATUS REPORT UNDER MINUTE ORDER OF MARCH 24, 2025

       1.        Defendants hereby respond to the inquiries in the Court’s Minute Order of March

17, 2025, as made applicable through the Minute Orders of March 24, 2025 and April 11, 2025.

       2.        As to processing of payments to foreign assistance funding recipients for work

completed prior to February 13, 2025: As of yesterday, the total number of such payments by

Defendants to Plaintiffs processed since April 23, 2025 was 59.           In light of the Court’s

administrative stay of such payments to non-Plaintiffs pending resolution of the motion for an

indicative ruling based on Department of Education v. California, 145 S. Ct. 966 (2025)

Defendants are not reporting as to non-Plaintiffs after April 11, 2025 or as to the Court’s metric.


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       3.      The total number of such payments which remain to be processed for Plaintiffs is

79.

       4.      The remaining payments to be processed are more labor intensive than those

previously processed because of particular transaction and documentation-specific details.

Moreover, Defendants received on April 15, 2025 additional payments request details from

Plaintiffs in No. 25-cv-402, concerning which Defendants provided partial information on April

23, 2025, and provided additional information on April 28, 29, and 30, 2025. Plaintiffs sent

additional questions on May 1, 2025, which Defendants are reviewing.

       5.      Additionally, Defendants continue to receive new payments requests, including

from Plaintiffs, for work completed prior to February 13, 2025. For example, USAID received 47

new such requests from Plaintiffs within the period covered by this report. In light of that and the

other practical limitations described in Defendants’ previous status reports, Defendants expect to

substantially complete the processing of the remaining payments to Plaintiffs by May 5, 2025.

Defendants further submit that if the Court were to set a deadline for the submission by Plaintiffs

of invoices for payments for work completed prior to February 13, 2025, such as May 15, 2025,

Defendants could finish processing all of the payments to Plaintiffs by June 6, 2025.

       6.      As to the provisions in this Court’s Order of March 10, 2025 concerning “funds

that Congress appropriated for foreign assistance programs in the Further Consolidated

Appropriations Act of 2024”: In consultation with the Office of Management and Budget, and in

light of the results of the programmatic review and the planned reorganization outlined in the

notification to Congress, USAID and State continue to evaluate the appropriate next steps to

address the provision in this Court’s March 10, 2025, order regarding obligation of funds.

       7.      Defendants understand that portion of the injunction to require them to make

available covered funds before they expire, which will happen as soon as September 30, 2025, for
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some of the funds at issue. To comply with that direction, Defendants will be required to begin

obligating and expending funds, potentially irretrievably, before that deadline. Thus, for

Defendants to receive effective relief if they prevail on appeal from the preliminary injunction,

Defendants have requested, with Plaintiffs’ consent, a briefing schedule from the D.C. Circuit that

would enable disposition of the appeal in advance of September 30, 2025.

 Dated: May 1, 2025                                 Respectfully submitted,
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                                                    Civil Division

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                                                    /s/ Indraneel Sur
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